              Case 2:20-cr-00151-RAJ Document 83 Filed 06/29/21 Page 1 of 1




1                                                              The Honorable Richard A. Jones
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7                          UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF WASHINGTON
8
                                       AT SEATTLE
9
      UNITED STATES OF AMERICA,                        NO. CR20-151RAJ
10
                            Plaintiff,
11
                                                       ORDER GRANTING
12                    v.                               MOTION TO SEAL
13
14    EPHRAIM ROSENBERG,
15                          Defendant.
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            Based upon the unopposed motion of the United States, and the representations
17
     made therein, and the Court finding good cause, it is HEREBY ORDERED that:
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            The United States’ Unopposed Motion to Seal (Dkt. # 82) is GRANTED. The
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     Pretrial Petition and Order (Dkt. # 81) in this matter shall be filed under seal because it
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     contains personal information of an uncharged person and the interests of justice are
21
     served by maintaining that information under seal.
22
            DATED this 29th day of June, 2021.
23
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25
                                                       A
                                                       The Honorable Richard A. Jones
26
                                                       United States District Judge
27
28
      ORDER GRANTING MOTION TO SEAL - 1                                   UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE 5220
      United States v. Rosenberg, CR20-151RAJ
                                                                           SEATTLE, WASHINGTON 98101
                                                                                 (206) 553-7970
